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          IN THE UNITED STATES DISTRICT COURT
         FOR THE NORTHERN DISTRICT OF GEORGIA
                    ATLANTA DIVISION


Ulysses T. Ware,

                       Appellant,
                                      Case No. 1:25-cv-613-MLB
v.

Alpha Capital, AG, et al.,

                       Appellees.

________________________________/

                                ORDER

     The Court DENIES Appellant’s motions (Dkts. 12; 14; 19; 22)

because Appellant has not shown the relief he seeks is warranted. The

Court ORDERS Appellant to file a single, consolidated opening appellate

brief no later than May 29, 2025.      Appellant’s brief must be titled

“Appellant’s Opening Appellate Brief,” be double-spaced, not exceed

25 pages, contain everything required by Bankruptcy Rule 8014(a) in the

proper format, and otherwise comply with the rules governing opening

briefs in a bankruptcy appeal. If Appellant believes the Court lacks

jurisdiction to consider his appeal—or that other jurisdictional problems

exist—he may assert those arguments in his opening brief. The docket
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in this case is already clogged with rambling, incoherent, voluminous,

and unnecessary filings. Going forward, the Court urges Appellant to be

more judicious and restrained about what he chooses to file. If Appellant

does not comply with any of the instructions contained in this Order, the

Court will likely dismiss his appeal, potentially with prejudice.

     SO ORDERED this 29th day of April, 2025.



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